Case 1:07-cv-00960-CMH-JFA Document 546 Filed 08/06/10 Page 1 of 2 PageID# 13082




         On Friday, August 6, 2010, counsel appeared before the court and presented argument on

 the defendants' Joint Motion for Leave to File Exhibits Under Seal. (Docket no. 473). The court

 has considered the motion, the memorandum in support (Docket no. 471) and the arguments of

 counsel. The court finds that allowing the defendants to file an unredacted version of the

 Memorandum in Support of defendants' Motion for Relief for Relator's Spoliation of Evidence

 and Exhibits 1, 2,4, 5, 6, & 8 thereto (Docket no. 469) under seal temporarily would further the

 ends of due process by allowing the New America Foundation, a non-party to this litigation, the

 opportunity to move the court to maintain the documents under seal, should they so desire. For

 these reasons, it is hereby


        ORDERED that the motion is granted. The defendants' promptly shall serve the New

 America Foundation with this Order and copies of their Joint Motion for Leave to File Exhibits

 Under Seal (Docket no. 473), the memorandum in support of the motion (Docket no. 471), an

 unredacted version of the Memorandum in Support of defendants' Motion for Relief for

 Relator's Spoliation of Evidence, and Exhibits 1, 2,4, 5, 6, & 8 thereto (Docket no. 469). The

 defendants shall also inform the New America Foundation of the requirements of Local Civil
Case 1:07-cv-00960-CMH-JFA Document 546 Filed 08/06/10 Page 2 of 2 PageID# 13083



Rule 5 for the filing of documents under seal. Any motion to maintain an exhibit under seal shall

be filed no later than 5:00 p.m. on Friday, August 20, 2010 and must comply fully with Local

Civil Rule 5. Any exhibit that was filed under seal that is not the subject of a motion to maintain

under seal shall be filed electronically with the court by the defendants by 5:00 p.m. on


Wednesday, August 25,2010.


       Entered this 6th day of August, 2010.




                                                          John F.


                                                             United States Magistrate Judge


Alexandria, Virginia
